Case 1:15-cv-02507-JLK Document 65-5 Filed 05/08/17 USDC Colorado Page 1 of 12




                         Kyle Jeffery Schwark vs.

                        Sheriff Fred Wegener, et al.




          Deposition of Katherine Margaret Fitting, MD, FACP

                             January 05, 2017




                                                                       Exhibit E
    Case 1:15-cv-02507-JLK Document 65-5 Filed 05/08/17 USDC Colorado Page 2 of 12
Kyle Jeffery Schwark vs.                                                     Deposition of Katherine Margaret Fitting, MD, FACP
Sheriff Fred Wegener, et al.                                                                                    January 05, 2017
                                                        Page 17                                                                          Page 19
·1· · · · · ·Q.· · ·And do you remember what year?                ·1· ·setting of an incarceration.
·2· · · · · ·A.· · ·2013, I think.                                ·2· · · · · ·Q.· · ·Give me an example of when somebody comes
·3· · · · · ·Q.· · ·Okay.                                         ·3· ·in with a prescription for something and you decide to
·4· · · · · ·A.· · ·And I was called by the nurse who gave me     ·4· ·change it.
·5· ·the list of medications and asked if we should -- what       ·5· · · · · ·A.· · ·The patient comes in with a prescription
·6· ·his medications should be while being at the Park County     ·6· ·for a blood pressure medication that we don't have on the
·7· ·jail.                                                        ·7· ·formulary, and we will substitute a similar medication
·8· · · · · ·Q.· · ·Okay.· And what -- I mean, was that an        ·8· ·that will handle the blood pressure issue.
·9· ·unusual circumstance, where the nurse is calling you and     ·9· · · · · ·Q.· · ·When you say "formulary," it sounds to me
10· ·giving you a list of medications and asking you these        10· ·like -- obviously, jails are concerned about costs every
11· ·kinds of questions?                                          11· ·day.· Is formulary another word for a generic substitute
12· · · · · ·A.· · ·No.                                           12· ·for perhaps a higher-priced medicine?
13· · · · · ·Q.· · ·Okay.· So that's pretty routine?              13· · · · · ·A.· · ·Not always.
14· · · · · ·A.· · ·It's routine to check -- for patients who     14· · · · · · · · · MR. MICHALEK:· Object to form.
15· ·have prescription medications, to call and talk about        15· · · · · ·Q.· · ·(By Mr. Lane)· Did you get informed that
16· ·what will be provided while the inmate is under our          16· ·Mr. Schwark had brought all his own meds into the jail?
17· ·custody.                                                     17· · · · · ·A.· · ·Yes.
18· · · · · ·Q.· · ·Okay.· Now, let me ask you this: A            18· · · · · ·Q.· · ·Okay.· And so he had all his meds.
19· ·prescription, obviously, is a doctor's order that            19· · · · · · · · · Did you change any of his meds?
20· ·somebody should be taking whatever the med is, right?        20· · · · · ·A.· · ·After the first phone call, no.
21· · · · · ·A.· · ·That's what a prescription is.                21· · · · · ·Q.· · ·Okay.· So the nurse read you a list of all
22· · · · · ·Q.· · ·Right.· So we have Mr. Schwark going into     22· ·the meds that Mr. Schwark was on, and you said, Fine,
23· ·the jail with doctors saying, You need this medication,      23· ·that's all okay?
24· ·Mr. Schwark, right?· That's what you understand?             24· · · · · ·A.· · ·I said for them to continue that
25· · · · · · · · · MR. MICHALEK:· Objection.                     25· ·medication.

                                                        Page 18                                                                          Page 20
·1· · · · · ·Q.· · ·(By Mr. Lane)· He was coming to the jail      ·1· · · · · ·Q.· · ·Okay.· Is there any fear that somebody
·2· ·with other doctors out in the world saying, You need to      ·2· ·brings in narcotics, for example, in a bottle that says
·3· ·take this med or that med, or whatever, right?               ·3· ·it's blood pressure medication or something like that?
·4· · · · · · · · · MR. MICHALEK:· Object to the form of the      ·4· · · · · ·A.· · ·That's always a possibility.· And we don't
·5· ·question.                                                    ·5· ·provide narcotics in the jail setting.
·6· · · · · · · · · You can answer.                               ·6· · · · · ·Q.· · ·Right.· So is there any process for
·7· · · · · ·A.· · ·He came to the jail taking medications        ·7· ·screening, you know, the meds?· Somebody claims, Oh, this
·8· ·that were prescribed by other physicians.                    ·8· ·is blood pressure medication, when, really, it's oxies
·9· · · · · ·Q.· · ·(By Mr. Lane)· Okay.· So my question is:      ·9· ·and it's a narcotic or fentanyl, you know, it's a
10· ·Why is the nurse calling you asking about what he should     10· ·narcotic; it's not allowed in the jail?
11· ·be taking when he has outside physicians that have           11· · · · · · · · · Is there some way to screen where the Park
12· ·already told him what he should be taking?                   12· ·County jail gets involved to see that -- you know, He
13· · · · · ·A.· · ·The situation in the jail when someone is     13· ·says this is blood pressure medication; how do we
14· ·incarcerated is a different situation than when that         14· ·actually know it's blood pressure medication?
15· ·person is out in the community.· We have a formulary of      15· · · · · ·A.· · ·Most of the time, we take those
16· ·medications that we use when someone is in the jail.· We     16· ·medications and store them with the patient's -- or with
17· ·don't have --                                                17· ·the inmate's property and substitute medications from our
18· · · · · ·Q.· · ·When you say "a formulary," what does that    18· ·formulary.
19· ·mean?                                                        19· · · · · ·Q.· · ·Okay.
20· · · · · ·A.· · ·That's a list of medications that we          20· · · · · ·A.· · ·In the case where there's not an
21· ·provide.· We may frequently have to substitute               21· ·equivalent within the formulary, the nurses check with
22· ·medications or change medications.                           22· ·the PDR or call the pharmacy that dispensed the
23· · · · · ·Q.· · ·Why is that?                                  23· ·medication and talk with the pharmacist about identifying
24· · · · · ·A.· · ·Because we have policies regarding what       24· ·that particular medication.
25· ·medications are appropriate and safe to use in the           25· · · · · ·Q.· · ·Okay.· Was any of that done with


                                                Stevens-Koenig Reporting                                                           ·Pages 17–20
                                           303-988-8470· www.SKReporting.com                                                                       YVer1f
    Case 1:15-cv-02507-JLK Document 65-5 Filed 05/08/17 USDC Colorado Page 3 of 12
Kyle Jeffery Schwark vs.                                                     Deposition of Katherine Margaret Fitting, MD, FACP
Sheriff Fred Wegener, et al.                                                                                    January 05, 2017
                                                        Page 21                                                                   Page 23
·1· ·Mr. Schwark that you know of?                                ·1· ·every morning or every afternoon or every evening,
·2· · · · · · · · · MR. MICHALEK:· Object to foundation.          ·2· ·there's a medical call.· The nurses in the jail have
·3· · · · · ·A.· · ·I have no knowledge about that.               ·3· ·medications for every inmate that's on medication, and
·4· · · · · ·Q.· · ·(By Mr. Lane)· All right.· But you had        ·4· ·it's -- whatever the prescribed dose is, it's in the
·5· ·this conversation with the nurse and you apparently          ·5· ·little paper cup.· The inmate gets that dose and no more
·6· ·thought he was on some appropriate medications.· So it's,    ·6· ·and no less.· The medication is taken in the presence of
·7· ·Don't change anything, and on we go, right?                  ·7· ·the nurse.
·8· · · · · · · · · MR. MICHALEK:· Object to form.                ·8· · · · · · · · · Are you familiar with that concept?
·9· · · · · · · · · You can answer.                               ·9· · · · · ·A.· · ·Yes, I am.
10· · · · · ·A.· · ·Not exactly.                                  10· · · · · ·Q.· · ·And I also understand that there is a fear
11· · · · · ·Q.· · ·(By Mr. Lane)· What were your thoughts?       11· ·that an inmate could hide the med under his tongue or up
12· · · · · ·A.· · ·My thoughts were that, as per our policy,     12· ·in his cheek or wherever and ultimately save them up and
13· ·we don't just discontinue benzodiazepines because of the     13· ·abuse them or sell them or do all those things.
14· ·withdrawal syndrome, and that those meds need to be          14· · · · · · · · · You're familiar with that concept, right?
15· ·weaned.                                                      15· · · · · ·A.· · ·Yes, I am.
16· · · · · ·Q.· · ·Which of his meds were benzodiazepines?       16· · · · · ·Q.· · ·But those things can pretty easily be
17· · · · · ·A.· · ·His alprazolam.                               17· ·checked simply by having a nurse with a rubber glove do a
18· · · · · ·Q.· · ·Okay.· And what was that designed to          18· ·thorough inspection of the inmate's mouth, right?
19· ·control?                                                     19· · · · · · · · · MR. MICHALEK:· Object to form.
20· · · · · ·A.· · ·I can't tell you that.· I didn't prescribe    20· · · · · ·A.· · ·That can be done.
21· ·it for him.· And at that point, I had no information from    21· · · · · ·Q.· · ·(By Mr. Lane)· Okay.· Do you know who the
22· ·the prescribing physician.                                   22· ·doctor was that prescribed the benzodiazepine --
23· · · · · ·Q.· · ·Well, you can't cut him back on that, cold    23· · · · · ·A.· · ·I believe --
24· ·turkey, is what I'm hearing you say, right, because          24· · · · · ·Q.· · ·-- for Mr. Schwark?
25· ·there's a withdrawal problem?                                25· · · · · ·A.· · ·-- it was Dr. Singer.

                                                        Page 22                                                                   Page 24
·1· · · · · ·A.· · ·You can't discontinue cold turkey.· You       ·1· · · · · · · · · MR. MICHALEK:· Let him finish his question
·2· ·can wean off.                                                ·2· ·before you answer.· Slow down.
·3· · · · · ·Q.· · ·Okay.· But were you concerned that he         ·3· · · · · · · · · THE DEPONENT:· Sorry.
·4· ·should be weaned off of these meds?                          ·4· · · · · ·Q.· · ·(By Mr. Lane)· No, you're good.
·5· · · · · ·A.· · ·Absolutely.                                   ·5· · · · · · · · · What was your understanding of what was
·6· · · · · ·Q.· · ·And why should he be weaned off a med that    ·6· ·being controlled by the benzodiazepines in Mr. Schwark's
·7· ·another physician decided he needed?                         ·7· ·case?
·8· · · · · ·A.· · ·There are medications that are not            ·8· · · · · ·A.· · ·At the time of the phone call, I had no
·9· ·appropriate in an incarceration situation.· And we do not    ·9· ·medical history for him, so I did not know what
10· ·provide benzodiazepines as a standing presentation for       10· ·Dr. Singer prescribed that for.
11· ·any inmates because they are frequently abused, traded,      11· · · · · ·Q.· · ·Do you have -- did you get knowledge from
12· ·and sold within the setting of the jail.                     12· ·a nurse that a judge had ordered that Mr. Schwark
13· · · · · ·Q.· · ·Well, I have been doing this now for 37       13· ·continue his medications?
14· ·years and I've been involved in the criminal justice         14· · · · · ·A.· · ·I'm not sure exactly when that was told to
15· ·system for 37 years.· It is my belief that I've never, in    15· ·me, but it was told to me that Mr. Schwark said that the
16· ·37 years, found a jail that just gives a bottle of pills     16· ·judge had given -- or written a letter that said he
17· ·to an inmate and said, Okay, here's your prescription; go    17· ·should receive those meds.
18· ·take your meds according to what the bottle says.            18· · · · · ·Q.· · ·Could withdrawal from benzodiazepines
19· · · · · · · · · In every jail in America, they have what      19· ·cause seizures, based on your training and experience?
20· ·is called a med line.· Are you familiar with the med         20· · · · · ·A.· · ·Yes, it can.
21· ·line?                                                        21· · · · · ·Q.· · ·And Mr. Schwark ultimately had some
22· · · · · · · · · MR. MICHALEK:· Object to form of the          22· ·seizures while at the jail, didn't he?
23· ·question.                                                    23· · · · · ·A.· · ·Yes, he did.
24· · · · · ·A.· · ·Yes, I am.                                    24· · · · · ·Q.· · ·Do you know what the cause of those
25· · · · · ·Q.· · ·(By Mr. Lane)· Okay.· And the med line is     25· ·seizures was?


                                                Stevens-Koenig Reporting                                                    ·Pages 21–24
                                           303-988-8470· www.SKReporting.com                                                                YVer1f
    Case 1:15-cv-02507-JLK Document 65-5 Filed 05/08/17 USDC Colorado Page 4 of 12
Kyle Jeffery Schwark vs.                                                  Deposition of Katherine Margaret Fitting, MD, FACP
Sheriff Fred Wegener, et al.                                                                                 January 05, 2017
                                                        Page 25                                                           Page 27
·1· · · · · ·A.· · ·I don't know for certain.· I have a           ·1· · · · · ·Q.· · ·Okay.· But at some point, you changed the
·2· ·medical opinion.                                             ·2· ·status quo, right?
·3· · · · · ·Q.· · ·What is your medical opinion?                 ·3· · · · · · · · · MR. MICHALEK:· Object to form.
·4· · · · · ·A.· · ·My medical opinion is it was an               ·4· · · · · ·Q.· · ·(By Mr. Lane)· You want to wean him off
·5· ·alcohol-withdrawal seizure.                                  ·5· ·the benzodiazepines, right?
·6· · · · · ·Q.· · ·And why do you have that medical opinion?     ·6· · · · · ·A.· · ·We're talking about his first
·7· · · · · ·A.· · ·I was informed that we had an alcohol         ·7· ·incarceration; is that correct?
·8· ·level that indicated the use of alcohol prior to being       ·8· · · · · ·Q.· · ·Yes.
·9· ·taken into the Park County jail.                             ·9· · · · · ·A.· · ·With the first incarceration, I did not
10· · · · · ·Q.· · ·Do you know what his BAC was when he got      10· ·start a wean.· We had an episode where he had what was
11· ·to the Park County jail?                                     11· ·felt to be a seizure in the pod.· I was called regarding
12· · · · · ·A.· · ·I don't.                                      12· ·that episode.· I asked them to place him on a different
13· · · · · ·Q.· · ·Okay.· Is there anything that would           13· ·protocol that would help protect against
14· ·refresh your recollection on that?                           14· ·alcohol-withdrawal seizures.
15· · · · · ·A.· · ·I know that we had a level of .02, but I      15· · · · · ·Q.· · ·Okay.· And how much time had passed
16· ·believe that was Breathalyzer as opposed to blood.           16· ·between his first going to the jail and this next phone
17· · · · · ·Q.· · ·Okay.· All right.· You would agree that       17· ·call you got that he had had a seizure?· Can you just
18· ·those are -- generally, a blood test is a more accurate      18· ·ballpark it, if you don't know?
19· ·test, but a Breathalyzer test is usually pretty accurate?    19· · · · · ·A.· · ·From when he came in or from when I had my
20· · · · · · · · · MR. MICHALEK:· Object to form.                20· ·first conversation?
21· · · · · ·A.· · ·The Breathalyzer is what's generally used     21· · · · · ·Q.· · ·What I'm -- well, he came into the jail
22· ·by the personnel at the Park County jail.                    22· ·and he had -- he was on these meds.· How long was he in
23· · · · · ·Q.· · ·(By Mr. Lane)· Right.· It's acceptable in     23· ·the jail before the nurse called you the very first time
24· ·a court of law for DUI purposes and other purposes,          24· ·and said, Hey, we've got this guy here named Schwark,
25· ·right?                                                       25· ·he's on these meds, and asked for your opinion?

                                                        Page 26                                                           Page 28
·1· · · · · · · · · MR. MICHALEK:· Object to foundation.          ·1· · · · · · · · · How much time passed from the time he went
·2· · · · · ·A.· · ·You would know better than I.                 ·2· ·into the jail until you got that phone call?· Do you
·3· · · · · ·Q.· · ·(By Mr. Lane)· Right.· I'm just saying --     ·3· ·know?
·4· ·you've distinguished between the Breathalyzer and the        ·4· · · · · ·A.· · ·The first phone call?
·5· ·blood test, and he had .02 at some point.                    ·5· · · · · ·Q.· · ·Yeah.
·6· · · · · · · · · You're not suggesting that that's an          ·6· · · · · ·A.· · ·I don't know precisely, but it would be
·7· ·inaccurate reading, are you?                                 ·7· ·on -- the time that the call was made is on the
·8· · · · · ·A.· · ·No.                                           ·8· ·medication administration record.
·9· · · · · ·Q.· · ·Okay.· So what was his prescription           ·9· · · · · ·Q.· · ·What's the normal course for the jail when
10· ·medication that the benzodiazepine was designed to           10· ·they've got somebody on meds?
11· ·prevent, or what condition was it being given to him to      11· · · · · · · · · MR. MICHALEK:· Object to form.
12· ·alleviate?                                                   12· · · · · ·A.· · ·The nurses have an intake sheet which is
13· · · · · ·A.· · ·As I said before, I don't know what           13· ·provided to each inmate when they come in where they
14· ·indication Dr. Singer used for that prescription.            14· ·record their current medical conditions and their
15· · · · · ·Q.· · ·Well, but he was on this med for a reason,    15· ·medications.· Those then go to the nurses for review.
16· ·presumably, right?                                           16· ·Once they're reviewed, then if there are questions
17· · · · · ·A.· · ·I would certainly hope so.                    17· ·regarding those medications or what should be provided to
18· · · · · ·Q.· · ·Okay.· And did you make any effort to         18· ·the patient, I'm called.
19· ·determine what the reason for his being on that med was?     19· · · · · ·Q.· · ·(By Mr. Lane)· Okay.· How much -- what's
20· · · · · ·A.· · ·I asked the nurse what his medication was,    20· ·the normal course of the interval?· Is it an hour?· Is it
21· ·and they gave me the information that they had, which was    21· ·a day?· Is it a week?· Is it two weeks between somebody
22· ·he was on those meds, but we did not have an indication.     22· ·coming in on meds and you getting a call from a nurse
23· · · · · ·Q.· · ·Okay.· And you left the status quo after      23· ·saying, The guy's on these meds; what do you want us to
24· ·your first conversation with the nurse, right?               24· ·do?
25· · · · · ·A.· · ·That is correct.                              25· · · · · · · · · MR. MICHALEK:· Object to form.


                                                Stevens-Koenig Reporting                                           ·Pages 25–28
                                           303-988-8470· www.SKReporting.com                                                        YVer1f
     Case 1:15-cv-02507-JLK Document 65-5 Filed 05/08/17 USDC Colorado Page 5 of 12
Kyle Jeffery Schwark vs.                                                                 Deposition of Katherine Margaret Fitting, MD, FACP
Sheriff Fred Wegener, et al.                                                                                                January 05, 2017
                                                                   Page 29                                                                        Page 31
·1· · · · · · · · · You can answer.                                          ·1· ·expectation would be he would be weaned off of
·2· · · · · ·A.· · ·That can vary depending on what time                     ·2· ·benzodiazepines.· That is the policy for all patients who
·3· ·someone is brought in, what day of the week, if it's a                  ·3· ·come in on benzodiazepines, with the exception of someone
·4· ·weekend or holiday.· But in general, that would happen                  ·4· ·who is on it for a known seizure disorder for which that
·5· ·within 12 to 24 hours.                                                  ·5· ·is the only medication that controls a known seizure
·6· · · · · ·Q.· · ·(By Mr. Lane)· Okay.· You would agree with               ·6· ·disorder.
·7· ·me that a seizure is a very serious medical issue, would                ·7· · · · · ·Q.· · ·(By Mr. Lane)· Okay.· So everybody who's
·8· ·you not?                                                                ·8· ·getting weaned off of benzodiazepines continues to take
·9· · · · · · · · · MR. MICHALEK:· Object to form.                           ·9· ·benzodiazepines while at the jail; they're just taking
10· · · · · ·A.· · ·Yes, a seizure is a worrisome condition.                 10· ·smaller doses, right?
11· · · · · ·Q.· · ·(By Mr. Lane)· And it can be fatal.· You                 11· · · · · ·A.· · ·Until they come off.· That's correct.
12· ·would agree with me, right?                                             12· · · · · ·Q.· · ·So there is no actual rule that says you
13· · · · · ·A.· · ·In rare circumstances, it can be fatal.                  13· ·can't have -- you can't be on benzodiazepines at the
14· · · · · ·Q.· · ·And would you agree with me that if                      14· ·jail, because everybody who is getting weaned is on
15· ·someone suffers from a seizure, they should be                          15· ·benzodiazepines at the jail, right?
16· ·hospitalized?                                                           16· · · · · · · · · MR. MICHALEK:· Object to form.
17· · · · · ·A.· · ·Not always.                                              17· · · · · ·A.· · ·That's one way to look at it.· But if we
18· · · · · ·Q.· · ·Okay.· Under what circumstances should                   18· ·had a standing rule that you couldn't wean off of
19· ·somebody be hospitalized after a seizure as opposed to                  19· ·benzodiazepines, then the jail couldn't accept anyone who
20· ·not hospitalized after a seizure?                                       20· ·had a prescription for a benzodiazepine.· And that would
21· · · · · · · · · MR. MICHALEK:· Object to form.                           21· ·not be appropriate.
22· · · · · ·A.· · ·The most direct reason for hospitalizing                 22· · · · · ·Q.· · ·(By Mr. Lane)· And what are the side
23· ·someone with a seizure is if they have a condition called               23· ·effects from being weaned off benzodiazepines?
24· ·status epilepticus, which is the seizure continues on --                24· · · · · ·A.· · ·Being weaned off?
25· ·is not self-terminating -- or if repeated seizures occur.               25· · · · · ·Q.· · ·Yes.

                                                                   Page 30                                                                        Page 32
·1· · · · · ·Q.· · ·(By Mr. Lane)· All right.· Why did you not ·1· · · · · ·A.· · ·It may be related -- it will depend from
·2· ·change the status quo after the first call from the nurse ·2· ·person to person and why the benzodiazepines was
·3· ·where you found out he was on benzodiazepines?· Why did ·3· ·prescribed for them.· But if a wean is done over an
·4· ·you not try to wean him at that point?                    ·4· ·appropriate period of time, the weaning process itself
·5· · · · · ·A.· · ·I had a call early in his incarceration                  ·5· ·shouldn't cause a lot of symptoms.· The condition for
·6· ·and didn't have a chance to look at the full picture.                   ·6· ·which they're taking that may become more symptomatic.
·7· ·And so my expectation was we needed to just get something               ·7· · · · · ·Q.· · ·But you've testified, if I am correct,
·8· ·on board at that time, and then we could look at how we                 ·8· ·that you didn't know what the condition was that was
·9· ·would go about weaning him after that.                                  ·9· ·causing Mr. Schwark to take benzodiazepines, right?
10· · · · · ·Q.· · ·So he was able to continue to take his                   10· · · · · ·A.· · ·That's correct.
11· ·benzodiazepines after that first phone call, right?                     11· · · · · ·Q.· · ·So you don't have any knowledge whether
12· · · · · ·A.· · ·Yes.· He got his regularly prescribed                    12· ·his symptoms became more severe or were unaffected by his
13· ·alprazolam after that phone call, until the second phone                13· ·being weaned, right?
14· ·call.                                                                   14· · · · · · · · · MR. MICHALEK:· Object to form.
15· · · · · ·Q.· · ·And how long had passed between the first                15· · · · · ·A.· · ·Which incarceration are we talking about
16· ·phone call and the second phone call?                                   16· ·now?
17· · · · · ·A.· · ·I don't know exactly --                                  17· · · · · ·Q.· · ·(By Mr. Lane)· Well, the second call came
18· · · · · ·Q.· · ·Just ballpark.                                           18· ·12 hours after the first call to you from the nurse,
19· · · · · ·A.· · ·-- but I think somewhere around 12 hours.                19· ·right?
20· ·It might have been a little bit longer.· I'm not certain.               20· · · · · ·A.· · ·Correct.
21· · · · · ·Q.· · ·Okay.· So it's not a hard-and-fast strict                21· · · · · ·Q.· · ·It was at the second call that you told
22· ·rule that you can't have benzodiazepines at the jail, he                22· ·the nurse to start weaning him off of benzodiazepines,
23· ·had benzodiazepines at the jail, right?                                 23· ·right?
24· · · · · · · · · MR. MICHALEK:· Object to form.                           24· · · · · ·A.· · ·No.
25· · · · · ·A.· · ·He received his medication, and our                      25· · · · · ·Q.· · ·Oh, I'm sorry.· That's my


                                                             Stevens-Koenig Reporting                                                       ·Pages 29–32
                                                        303-988-8470· www.SKReporting.com                                                                   YVer1f
    Case 1:15-cv-02507-JLK Document 65-5 Filed 05/08/17 USDC Colorado Page 6 of 12
Kyle Jeffery Schwark vs.                                                  Deposition of Katherine Margaret Fitting, MD, FACP
Sheriff Fred Wegener, et al.                                                                                 January 05, 2017
                                                        Page 33                                                           Page 35
·1· ·misunderstanding.                                            ·1· · · · · ·A.· · ·Upon intake, the inmate is given a form to
·2· · · · · · · · · Will you clarify, then?· What was the         ·2· ·fill out.· And we have certain conditions that we flag so
·3· ·second call about?                                           ·3· ·that a call comes to me immediately if that condition is
·4· · · · · ·A.· · ·The second call was about having the          ·4· ·reported.· Epilepsy is one of them, along with things
·5· ·seizure.· I asked that he be put on our                      ·5· ·like diabetes, heart disease, certain pulmonary
·6· ·alcohol-withdrawal protocol, which substitutes a             ·6· ·conditions.
·7· ·different benzodiazepine which is stronger and longer        ·7· · · · · · · · · (Ms. Wolak exited the room.)
·8· ·acting than the one that he had a prescription for.          ·8· · · · · ·Q.· · ·(By Mr. Lane)· And you're getting these
·9· · · · · ·Q.· · ·Okay.· And what was it that led you to        ·9· ·histories from an inherently unreliable population,
10· ·believe that he was having alcohol withdrawal and that's     10· ·right?
11· ·what caused the seizure?                                     11· · · · · ·A.· · ·That's correct.
12· · · · · ·A.· · ·The fact that he had a history of coming      12· · · · · ·Q.· · ·So did anyone, to your knowledge, after
13· ·in with an alcohol level and the fact that he had a          13· ·Mr. Schwark had his seizure, ask Mr. Schwark,
14· ·seizure within the time frame that is typically seen for     14· ·Mr. Schwark, have you ever had a seizure before?
15· ·alcohol-withdrawal seizures, which is while those alcohol    15· · · · · ·A.· · ·I don't know whether that question was
16· ·levels are falling.                                          16· ·asked or not.
17· · · · · ·Q.· · ·Okay.· Did you request that anyone            17· · · · · ·Q.· · ·You assumed the seizure was alcohol
18· ·interview Mr. Schwark to find out if he's suffering from     18· ·withdrawal.· But if he had a history from childhood of
19· ·alcohol withdrawal?                                          19· ·having seizures on a regular basis, wouldn't that
20· · · · · · · · · MR. MICHALEK:· Object to form.                20· ·indicate that it might not be alcohol withdrawal?
21· · · · · ·A.· · ·I didn't ask them to ask that specific        21· · · · · · · · · MR. MICHALEK:· Object to form and
22· ·question.                                                    22· ·foundation.
23· · · · · ·Q.· · ·(By Mr. Lane)· All right.· I mean,            23· · · · · · · · · MR. ZIPORIN:· Same --
24· ·patients are sometimes really unreliable sources of          24· · · · · · · · · MR. LANE:· Mr. Ziporin, nobody could
25· ·information, and sometimes they're very reliable sources     25· ·understand what you just said.
                                                        Page 34                                                           Page 36
·1· ·of information.                                              ·1· · · · · · · · · MR. ZIPORIN:· Same objection.
·2· · · · · · · · · Would you agree with that?                    ·2· · · · · · · · · MR. LANE:· Okay.
·3· · · · · ·A.· · ·I would agree with that.                      ·3· · · · · ·A.· · ·When I made the determination that this
·4· · · · · ·Q.· · ·And if Mr. Schwark, for example, said,        ·4· ·was, most likely an alcohol-withdrawal situation, I had
·5· ·Yeah, I had one drink this morning, but prior to that, I     ·5· ·first gone through a critical-thinking process, which
·6· ·hadn't had anything to drink in two months, then that        ·6· ·involves constructing a differential diagnosis for the
·7· ·might have made you wonder about, Well, I wonder if this     ·7· ·situation.· And in that, I think about the various things
·8· ·actually is alcohol withdrawal, because if he's telling      ·8· ·that can cause withdrawal.
·9· ·the truth, this does not sound like it should be alcohol     ·9· · · · · · · · · Given the information that I had, it
10· ·withdrawal, right?                                           10· ·seemed to me, in my medical judgment, that the most
11· · · · · · · · · MR. MICHALEK:· Object to form.                11· ·likely cause was an alcohol-withdrawal seizure.· I also
12· · · · · ·A.· · ·If you can get a reliable and accurate        12· ·considered the fact that if it was not, the protocol I
13· ·history, then that may be helpful.· However, with the        13· ·put him on was protective from further seizures,
14· ·population we work with, we generally don't get a            14· ·regardless of what the underlying diagnosis was or the
15· ·reliable and accurate history.                               15· ·underlying cause for that seizure.
16· · · · · ·Q.· · ·Understood.                                   16· · · · · ·Q.· · ·(By Mr. Lane)· Okay.· So the protocol you
17· · · · · · · · · Did anyone, to your knowledge, talk to        17· ·put him on was going to prevent seizures, likely,
18· ·Mr. Schwark about whether he had a history of seizures?      18· ·regardless of the cause?
19· · · · · ·A.· · ·I have no knowledge about that.               19· · · · · ·A.· · ·That was the intent.
20· · · · · ·Q.· · ·I mean, do you know whether Mr. Schwark       20· · · · · ·Q.· · ·Okay.· So who called you and described the
21· ·has epilepsy?                                                21· ·seizure to you?
22· · · · · ·A.· · ·I know that that wasn't listed as one of      22· · · · · ·A.· · ·I was called by one of the jail nurses.
23· ·his medical conditions.                                      23· · · · · ·Q.· · ·Do you know who?
24· · · · · ·Q.· · ·So a history is taken from the inmate upon    24· · · · · ·A.· · ·I don't remember, specifically, which
25· ·intake, right?                                               25· ·nurse it was.

                                                Stevens-Koenig Reporting                                           ·Pages 33–36
                                           303-988-8470· www.SKReporting.com                                                        YVer1f
    Case 1:15-cv-02507-JLK Document 65-5 Filed 05/08/17 USDC Colorado Page 7 of 12
Kyle Jeffery Schwark vs.                                                  Deposition of Katherine Margaret Fitting, MD, FACP
Sheriff Fred Wegener, et al.                                                                                 January 05, 2017
                                                        Page 37                                                           Page 39
·1· · · · · ·Q.· · ·And what did that nurse tell you?             ·1· ·seizure and the seizure kills you, ultimately?
·2· · · · · ·A.· · ·That he had had a seizure -- or what          ·2· · · · · · · · · MR. MICHALEK:· Object to form.
·3· ·appeared to be a seizure -- in the pod, and that they had    ·3· · · · · ·Q.· · ·(By Mr. Lane)· Is that your understanding?
·4· ·brought him down to Medical and wanted to know what          ·4· · · · · ·A.· · ·I think that's an over-simplification.
·5· ·further orders I wanted to give.                             ·5· · · · · ·Q.· · ·Well, dehydration can cause electrolyte
·6· · · · · ·Q.· · ·And did you get a description of what         ·6· ·imbalances, correct?
·7· ·exactly the seizure looked like?                             ·7· · · · · ·A.· · ·That's correct.
·8· · · · · ·A.· · ·I don't recall whether they told me           ·8· · · · · ·Q.· · ·And electrolyte imbalances can stop the
·9· ·exactly what the seizure looked like.                        ·9· ·human heart from beating, correct?
10· · · · · ·Q.· · ·I mean, you would agree that there are        10· · · · · ·A.· · ·They can.
11· ·different types of seizures, wouldn't you?                   11· · · · · ·Q.· · ·Have you -- are you aware that alcohol
12· · · · · ·A.· · ·Yes, there are different types of             12· ·withdrawal can, in fact, result in dehydration, which
13· ·seizures.                                                    13· ·leads to an electrolyte imbalance, which stops the human
14· · · · · ·Q.· · ·Are some seizures more indicative of          14· ·heart?
15· ·alcohol withdrawal than other seizures?                      15· · · · · ·A.· · ·I am aware that that is a remote
16· · · · · · · · · In other words, the physical description      16· ·possibility.
17· ·of what a seizure is looking like, would that be more        17· · · · · ·Q.· · ·Okay.· How do you know when an
18· ·indicative of alcohol withdrawal as opposed to epilepsy?     18· ·alcohol-withdrawal seizure needs to result in
19· · · · · ·A.· · ·No.                                           19· ·hospitalization?
20· · · · · ·Q.· · ·So seizures can look different, but these     20· · · · · ·A.· · ·Recurrent seizures would result in a
21· ·differences can manifest from all sorts of different         21· ·hospitalization.· The failure of a seizure to terminate
22· ·causes?                                                      22· ·in a timely fashion would -- injury because of the
23· · · · · ·A.· · ·I would agree with that statement.            23· ·seizure would -- if we had -- well, if you had other
24· · · · · ·Q.· · ·Okay.· Was Mr. Schwark exhibiting any         24· ·confounding clinical conditions, you might have a lower
25· ·signs of dehydration, to your knowledge?                     25· ·threshold for requesting a hospitalization.

                                                        Page 38                                                           Page 40
·1· · · · · ·A.· · ·I know only that his vital signs were         ·1· · · · · ·Q.· · ·Okay.· So the second call comes in.· You
·2· ·stable and he did not have the typical pattern of            ·2· ·put him on a different dose of benzodiazepines, right?
·3· ·significant dehydration.· He did not have a resting          ·3· · · · · · · · · MR. MICHALEK:· Object to form.
·4· ·tachycardia and he had a normal blood pressure.              ·4· · · · · ·A.· · ·I put him on the medication that's
·5· · · · · ·Q.· · ·And you would agree with me that a typical    ·5· ·primarily used to treat an alcohol-withdrawal
·6· ·symptom of alcohol withdrawal would be an inability to       ·6· ·situation.
·7· ·hydrate, meaning you're vomiting, you are -- and diarrhea    ·7· · · · · ·Q.· · ·(By Mr. Lane)· And that is what again?
·8· ·is a frequent side effect from alcohol withdrawal.           ·8· · · · · ·A.· · ·Librium.
·9· ·You're unable to keep fluids in your body.                   ·9· · · · · ·Q.· · ·Librium.· All right.
10· · · · · · · · · Would you agree that that is a typical        10· · · · · · · · · Did you discontinue his original
11· ·symptom of alcohol withdrawal?                               11· ·medication that Dr. Singer had prescribed?
12· · · · · · · · · MR. MICHALEK:· Object to form.                12· · · · · ·A.· · ·I did.
13· · · · · ·A.· · ·I would not say typical.· I would say that    13· · · · · ·Q.· · ·And why did you do that?
14· ·those conditions can be associated with alcohol              14· · · · · ·A.· · ·Because there is contraindication to being
15· ·withdrawal, but it's not what I typically see.               15· ·on more than one benzodiazepine at a time.
16· · · · · ·Q.· · ·(By Mr. Lane)· And you would also agree       16· · · · · ·Q.· · ·Okay.· At any time, did you make an effort
17· ·with me that alcohol withdrawal itself can be a fatal        17· ·to contact Dr. Singer and talk to him about Mr. Schwark's
18· ·condition?                                                   18· ·condition?
19· · · · · · · · · MR. MICHALEK:· Object to form.                19· · · · · ·A.· · ·Multiple calls were made to Dr. Singer's
20· · · · · ·A.· · ·The falling alcohol level can result in       20· ·office.
21· ·alcohol-withdrawal seizures, which, if not properly          21· · · · · ·Q.· · ·By you?
22· ·controlled, could lead to fatality.· But that would be,      22· · · · · ·A.· · ·By the nursing staff.
23· ·by far, the rare exception.                                  23· · · · · ·Q.· · ·Okay.· And did they talk to Dr. Singer?
24· · · · · ·Q.· · ·(By Mr. Lane)· So you're saying that the      24· · · · · ·A.· · ·They were unable to talk to Dr. Singer,
25· ·only way alcohol withdrawal can be fatal is if you have a    25· ·and they did not receive the requested records.


                                                Stevens-Koenig Reporting                                           ·Pages 37–40
                                           303-988-8470· www.SKReporting.com                                                        YVer1f
    Case 1:15-cv-02507-JLK Document 65-5 Filed 05/08/17 USDC Colorado Page 8 of 12
Kyle Jeffery Schwark vs.                                                  Deposition of Katherine Margaret Fitting, MD, FACP
Sheriff Fred Wegener, et al.                                                                                 January 05, 2017
                                                        Page 41                                                           Page 43
·1· · · · · ·Q.· · ·So you changed his meds 12 hours after you    ·1· · · · · ·A.· · ·It depends on what you mean by having a
·2· ·got the first phone call.· What happens then?· What was      ·2· ·seizure situation in the jail.
·3· ·your next interaction with the Kyle Schwark medical          ·3· · · · · ·Q.· · ·Well, if somebody has had a seizure, is it
·4· ·situation?                                                   ·4· ·sound policy to put that person on a top bunk, because if
·5· · · · · ·A.· · ·Later that day, I was called and told he      ·5· ·they have another seizure, they could very easily fall
·6· ·had been transported to Denver Health because he had had     ·6· ·out of their top bunk and injure themselves?
·7· ·a seizure -- a subsequent seizure and had fallen and         ·7· · · · · · · · · MR. MICHALEK:· Object to form.
·8· ·injured himself.                                             ·8· · · · · ·A.· · ·For patients that have known seizure
·9· · · · · ·Q.· · ·All right.· Let me ask you about that.        ·9· ·disorders, that's generally the way that is handled.· For
10· ·You understand that when people are having a seizure,        10· ·single seizures that we feel may be related to alcohol,
11· ·they're unconscious?                                         11· ·since those generally are isolated and don't recur,
12· · · · · ·A.· · ·When they have a generalized tonic-clonic     12· ·that's not always the situation.
13· ·seizure, they will be unconscious.                           13· · · · · ·Q.· · ·(By Mr. Lane)· Well, let's assume for a
14· · · · · ·Q.· · ·And that's what Mr. Schwark seemed to be      14· ·minute Mr. Schwark was lying down on the examination
15· ·having; is that correct?                                     15· ·table.
16· · · · · ·A.· · ·By report, yes.                               16· · · · · · · · · Now, you're familiar with hospital beds,
17· · · · · ·Q.· · ·Okay.· And when someone is having a           17· ·right?
18· ·seizure frequently, they are in convulsions of some sort,    18· · · · · ·A.· · ·Yes, I am.
19· ·correct?                                                     19· · · · · ·Q.· · ·Hospital beds have rails that come up to
20· · · · · ·A.· · ·That would be a synonym for seizure.          20· ·prevent patients from coming out of their beds, correct?
21· · · · · ·Q.· · ·Okay.· Well, I mean, their body is moving     21· · · · · ·A.· · ·Many of them do.
22· ·without conscious thought by the person having the           22· · · · · ·Q.· · ·And Mr. Schwark was in Medical, having
23· ·seizure, frequently?                                         23· ·just recently had a seizure, correct?
24· · · · · ·A.· · ·Correct.                                      24· · · · · · · · · MR. MICHALEK:· Object to form.
25· · · · · ·Q.· · ·And you know how Mr. Schwark ended up         25· · · · · ·A.· · ·Yes.

                                                        Page 42                                                           Page 44
·1· ·getting injured, correct?                                    ·1· · · · · ·Q.· · ·(By Mr. Lane)· Is it sound policy to allow
·2· · · · · ·A.· · ·Yes.                                          ·2· ·someone to lie down on a table who's just had a seizure
·3· · · · · ·Q.· · ·How did he get injured?                       ·3· ·when they could fall off the table and injure themselves?
·4· · · · · ·A.· · ·I was -- it was reported to me that he was    ·4· · · · · · · · · MR. MICHALEK:· Object to form.
·5· ·in Medical, under observation, that he was leaning up        ·5· · · · · ·A.· · ·I don't see a reason not to have him lie
·6· ·against the exam table, and that he then fell and hit his    ·6· ·down.
·7· ·head either during a seizure or in that same time frame      ·7· · · · · ·Q.· · ·(By Mr. Lane)· Well, there's lying down
·8· ·as a seizure activity was noted.                             ·8· ·and there's lying down.· There's lying down on a metal
·9· · · · · ·Q.· · ·Well, the fact is he was told to lie down     ·9· ·table that has no rails, and if you have a seizure, you
10· ·on the table.· And he was lying down on it, wasn't he?       10· ·could fall off and crack your head open, which is what
11· · · · · · · · · MR. MICHALEK:· Object to form and             11· ·happened to Mr. Schwark, right?
12· ·foundation.                                                  12· · · · · · · · · MR. MICHALEK:· Object to form.· It's a
13· · · · · ·A.· · ·I was not present, so I can't say that I      13· ·mischaracterization of the testimony.
14· ·saw what position he was in.                                 14· · · · · · · · · MR. ZIPORIN:· Same objection.
15· · · · · ·Q.· · ·(By Mr. Lane)· You would agree that           15· · · · · ·Q.· · ·(By Mr. Lane)· Right?
16· ·someone with a seizure disorder or is having seizures or     16· · · · · · · · · MR. MICHALEK:· Object to form.
17· ·has just had a seizure has to be watched to determine --     17· · · · · · · · · MR. LANE:· You've objected.· Your
18· ·you know, to make sure that they're protected if they        18· ·objection is noted.
19· ·have another seizure, right?                                 19· · · · · ·A.· · ·Can you restate the question?
20· · · · · · · · · MR. MICHALEK:· Object to form of the          20· · · · · ·Q.· · ·(By Mr. Lane)· Yeah.· Mr. Schwark cracked
21· ·question.                                                    21· ·his head open because he had another seizure while in
22· · · · · ·A.· · ·Yes, observation would be indicated.          22· ·Medical, right?
23· · · · · ·Q.· · ·(By Mr. Lane)· So, for example, if            23· · · · · ·A.· · ·Yes.
24· ·somebody's having seizures at the jail, would you give       24· · · · · ·Q.· · ·Mr. Schwark claims he was lying down on a
25· ·them a bottom bunk restriction?                              25· ·table in Medical and he was unprotected at the time.


                                                Stevens-Koenig Reporting                                           ·Pages 41–44
                                           303-988-8470· www.SKReporting.com                                                        YVer1f
    Case 1:15-cv-02507-JLK Document 65-5 Filed 05/08/17 USDC Colorado Page 9 of 12
Kyle Jeffery Schwark vs.                                                  Deposition of Katherine Margaret Fitting, MD, FACP
Sheriff Fred Wegener, et al.                                                                                 January 05, 2017
                                                        Page 57                                                           Page 59
·1· ·vomiting, right?                                             ·1· ·was first brought down to Medical, they had him lie down
·2· · · · · ·A.· · ·He vomited, yes.                              ·2· ·on the medical table.
·3· · · · · ·Q.· · ·And we don't know why; isn't that right?      ·3· · · · · ·Q.· · ·(By Mr. Lane)· Okay.· And I presume the
·4· · · · · ·A.· · ·I don't know why.                             ·4· ·medical table is sort of a standard height for a table;
·5· · · · · ·Q.· · ·Okay.· That's when Nurse Pearce says, "We     ·5· ·isn't it?
·6· ·checked him over and got him some water and called the       ·6· · · · · · · · · MR. MICHALEK:· Object to form.
·7· ·doctor."                                                     ·7· · · · · ·Q.· · ·(By Mr. Lane)· I mean, let me -- you've
·8· · · · · · · · · Do you know who "we" is?                      ·8· ·seen the medical table at the Park County jail, right?
·9· · · · · ·A.· · ·I wasn't there, so I don't know for sure.     ·9· · · · · ·A.· · ·Yes.
10· · · · · ·Q.· · ·Okay.· Well, Pearce was there.                10· · · · · ·Q.· · ·Okay.· I'm going to stand up.· We're
11· · · · · ·A.· · ·Yes.                                          11· ·seated at a conference room table.· Is the medical table
12· · · · · ·Q.· · ·But you don't recall talking to Pearce,       12· ·about as high off the ground as this conference room
13· ·right?                                                       13· ·table or is it a little higher or is it a little lower?
14· · · · · · · · · MR. MICHALEK:· Object to form.                14· ·Do you know?
15· · · · · ·A.· · ·I know I spoke with nurses.· I don't know     15· · · · · · · · · Would it help to be standing up so you can
16· ·which one of the nurses.                                     16· ·compare and contrast?
17· · · · · ·Q.· · ·(By Mr. Lane)· You talked to multiple         17· · · · · ·A.· · ·It's similar in height.
18· ·nurses or a nurse?                                           18· · · · · ·Q.· · ·Okay.· And I'm guessing this table is
19· · · · · ·A.· · ·I believe, over this time frame, I spoke      19· ·about -- I don't know -- 3 feet high.· I don't know.
20· ·to more than one nurse.                                      20· · · · · · · · · Is that a fair estimate?
21· · · · · ·Q.· · ·But you don't remember who?                   21· · · · · ·A.· · ·I don't really have calibrated eyeballs.
22· · · · · ·A.· · ·No.                                           22· · · · · ·Q.· · ·Right.· I'm just guessing.
23· · · · · ·Q.· · ·Okay.· And there's no note that you took      23· · · · · · · · · This is a normal table; you would agree
24· ·that would help refresh your recollection on that, is        24· ·with me?
25· ·there?                                                       25· · · · · ·A.· · ·It's a normal table.
                                                        Page 58                                                           Page 60
·1· · · · · ·A.· · ·That I wrote, personally?                     ·1· · · · · ·Q.· · ·And is the Park County medical table a
·2· · · · · ·Q.· · ·Yes.                                          ·2· ·normal table?· Is it about the same height, or is it
·3· · · · · ·A.· · ·No.                                           ·3· ·taller or shorter?· Do you know?
·4· · · · · ·Q.· · ·Okay.· "He kept talking and drinking          ·4· · · · · ·A.· · ·It's about the same height.
·5· ·fluids.· About 5:10 pm he said he was really tired. I        ·5· · · · · ·Q.· · ·Okay.· He got 25 milligrams of Librium.
·6· ·told him to lay back and try to sleep.· He started to get    ·6· ·What would be the effect of 25 milligrams of Librium on
·7· ·comfortable.· I went back to work."                          ·7· ·Mr. Schwark?
·8· · · · · · · · · All right.· Let me backtrack on this.· Do     ·8· · · · · ·A.· · ·The expectation was it would help prevent
·9· ·you see, up near -- about a third of the way down, it        ·9· ·further alcohol-withdrawal seizures.
10· ·says, "We took him to medical in a wheel chair [sic].· He    10· · · · · ·Q.· · ·Okay.· He started to get comfortable, and
11· ·was very sick to his stomach."· And then the very next       11· ·she went back to work.
12· ·sentence says, "We put him on the medical table and got      12· · · · · · · · · Now, I take that to mean that he was lying
13· ·him a blanket."                                              13· ·down on this medical table trying to get comfortable.· Is
14· · · · · · · · · Do you see that sentence right there?         14· ·that how you take that?
15· · · · · ·A.· · ·I see that sentence.                          15· · · · · · · · · MR. MICHALEK:· Object to form and
16· · · · · ·Q.· · ·That would indicate to me that he was         16· ·foundation.
17· ·lying down on the medical table and they were going to       17· · · · · ·A.· · ·I don't know what position he would have
18· ·cover him with a blanket.· That doesn't indicate to me       18· ·been in when he was feeling comfortable.
19· ·that he was leaning against the medical table; that means    19· · · · · ·Q.· · ·(By Mr. Lane)· No.· I'm not saying what
20· ·he was lying down on the medical table.· That's how I        20· ·position he was in.· I'm simply saying, when I read that
21· ·read that.                                                   21· ·note, I'm thinking, Here's a guy lying down on a medical
22· · · · · · · · · Let me ask you.· How do you read that?        22· ·table with a blanket on him trying to get comfortable.
23· · · · · · · · · MR. MICHALEK:· Object to the form of the      23· ·Whatever position that is, he's lying town trying to get
24· ·question and foundation.                                     24· ·comfortable.
25· · · · · ·A.· · ·That statement would indicate that when he    25· · · · · · · · · Is that how you read that?


                                                Stevens-Koenig Reporting                                           ·Pages 57–60
                                           303-988-8470· www.SKReporting.com                                                        YVer1f
    Case 1:15-cv-02507-JLK Document 65-5 Filed 05/08/17 USDC Colorado Page 10 of 12
Kyle Jeffery Schwark vs.                                                  Deposition of Katherine Margaret Fitting, MD, FACP
Sheriff Fred Wegener, et al.                                                                                 January 05, 2017
                                                        Page 81                                                           Page 83
·1· · · · · ·A.· · ·Protect patient something.· I don't know      ·1· · · · · ·A.· · ·I was called sometime after he came back
·2· ·what that word is.                                           ·2· ·to the Park County jail.
·3· · · · · ·Q.· · ·Something seizure?                            ·3· · · · · ·Q.· · ·Do you recall approximately when that was?
·4· · · · · ·A.· · ·Right.                                        ·4· · · · · ·A.· · ·I think it was in February.
·5· · · · · ·Q.· · ·And then what does Note Number 2 mean?        ·5· · · · · · · · · MR. LANE:· Okay.· You know what?· There is
·6· · · · · · · · · MR. MICHALEK:· Object to foundation.          ·6· ·a document I need to get.· Let me take 30 seconds and go
·7· · · · · ·A.· · ·I think it says, Attempted with something     ·7· ·get it.· I'll be right back.
·8· ·precautions.                                                 ·8· · · · · · · · · (Recess from 11:15 a.m. to 11:17 a.m.)
·9· · · · · ·Q.· · ·(By Mr. Lane)· Spinal precautions of some     ·9· · · · · ·Q.· · ·(By Mr. Lane)· Okay.· When is your best
10· ·sort?                                                        10· ·estimate as to when he got back for the second stay?
11· · · · · · · · · MR. MICHALEK:· Object to foundation.          11· · · · · ·A.· · ·I'm guessing February.
12· · · · · ·A.· · ·I can't tell.                                 12· · · · · ·Q.· · ·Okay.· And how did he come to your
13· · · · · ·Q.· · ·(By Mr. Lane)· Okay.· Number 3, Notify EMS    13· ·attention on the second go-around?
14· ·for transport and, Number 4, Consulted a nurse.              14· · · · · ·A.· · ·I received a call from one of the nurses.
15· · · · · · · · · MR. MICHALEK:· Object to foundation.          15· · · · · ·Q.· · ·Do you recall which nurse?
16· · · · · ·Q.· · ·(By Mr. Lane)· Is that what that says?        16· · · · · ·A.· · ·I do not.
17· · · · · ·A.· · ·That's what I think it says.                  17· · · · · ·Q.· · ·And what did that nurse tell you?
18· · · · · ·Q.· · ·This is a typical medical note that you       18· · · · · ·A.· · ·As I recall, that he was back -- that he
19· ·would see at the jail, isn't it, meaning it's on a           19· ·was brought in by the deputies to complete the sentence.
20· ·medical form from the jail?                                  20· · · · · ·Q.· · ·Why were you called about that?
21· · · · · ·A.· · ·It's on a medical form from the jail, yes.    21· · · · · ·A.· · ·To notify me that he was in and to get an
22· · · · · ·Q.· · ·Okay.· And you're familiar with these         22· ·idea on how we were going to manage his medication.
23· ·kinds of notes; is that correct?                             23· · · · · ·Q.· · ·Okay.· So you discussed his medication
24· · · · · ·A.· · ·What kind of notes?                           24· ·with whoever called you?
25· · · · · ·Q.· · ·Well, you -- this is a typical thing in a     25· · · · · ·A.· · ·Yes.
                                                        Page 82                                                           Page 84
·1· ·medical file for an inmate with a medical issue, isn't       ·1· · · · · ·Q.· · ·Okay.· And what was said during that
·2· ·it?                                                          ·2· ·conversation?
·3· · · · · · · · · MR. MICHALEK:· Object to form.                ·3· · · · · ·A.· · ·The exact conversation I don't recall, but
·4· · · · · ·Q.· · ·(By Mr. Lane)· And this form is               ·4· ·I know that we discussed what medication he was on and
·5· ·commonly --                                                  ·5· ·how we would manage weaning him from his benzodiazepines.
·6· · · · · ·A.· · ·This form is used for reporting medical       ·6· · · · · ·Q.· · ·Okay.· So what -- I mean, were you
·7· ·situations.                                                  ·7· ·given -- on the first go-around, they called you with a
·8· · · · · ·Q.· · ·Would it be possible that the person who      ·8· ·list of his meds, and you said, Keep the status quo.· Did
·9· ·filled it out and signed on the right -- 3701, could that    ·9· ·they do the same thing the second go-around in February?
10· ·be a badge number for a deputy?                              10· · · · · ·A.· · ·I don't remember whether they went through
11· · · · · ·A.· · ·It could be.                                  11· ·his entire list of medications, but we did talk about the
12· · · · · ·Q.· · ·Would a deputy typically fill something       12· ·benzodiazepines and the Suboxone.
13· ·like this out?                                               13· · · · · ·Q.· · ·Okay.· And what did you say about those
14· · · · · ·A.· · ·I don't know the jail policy on what the      14· ·things?
15· ·deputies are supposed to document, but it could be.          15· · · · · ·A.· · ·I asked if we had received records from
16· · · · · ·Q.· · ·Okay.· On November 15th -- well, do you       16· ·the hospital, and I asked if we had received records from
17· ·know how Mr. Schwark got from Summit County to Denver        17· ·Dr. Singer.· We had not received any records from either
18· ·Health?                                                      18· ·source.· So without access to those records, I evaluated
19· · · · · ·A.· · ·I don't -- I don't know for certain, but I    19· ·the meds that he was on and gave them orders for his wean
20· ·suspect he was ground transported.                           20· ·from his benzodiazepines.
21· · · · · ·Q.· · ·Let's talk about his second stay at the       21· · · · · ·Q.· · ·Okay.· Would it refresh your recollection
22· ·jail.                                                        22· ·if I told you that on February 25th, he was on Suboxone,
23· · · · · ·A.· · ·Okay.                                         23· ·chlordiazepoxide, and alprazolam?
24· · · · · ·Q.· · ·When was the next time that Kyle Schwark's    24· · · · · ·A.· · ·Yes.
25· ·name became known to you?                                    25· · · · · ·Q.· · ·Okay.· And we've already talked about


                                                Stevens-Koenig Reporting                                           ·Pages 81–84
                                           303-988-8470· www.SKReporting.com                                                        YVer1f
    Case 1:15-cv-02507-JLK Document 65-5 Filed 05/08/17 USDC Colorado Page 11 of 12
Kyle Jeffery Schwark vs.                                                      Deposition of Katherine Margaret Fitting, MD, FACP
Sheriff Fred Wegener, et al.                                                                                     January 05, 2017
                                                        Page 85                                                                          Page 87
·1· ·everything.· What is the -- we have not talked about the     ·1· ·hospitalization at Denver Health.
·2· ·chlordiazepoxide.· What is that?                             ·2· · · · · ·Q.· · ·Do you believe that -- what is the
·3· · · · · ·A.· · ·It's chlordiazepoxide, and that's Librium.    ·3· ·function of a protective cervical hard collar?
·4· · · · · ·Q.· · ·Okay.· And why -- we've talked about the      ·4· · · · · ·A.· · ·To stabilize the neck.
·5· ·Suboxone was for his prior heroin use.· And the              ·5· · · · · ·Q.· · ·Is that done by prescription?
·6· ·alprazolam was given to him for what purpose?                ·6· · · · · ·A.· · ·It can be.· You can also purchase a hard
·7· · · · · ·A.· · ·That was Dr. Singer's prescription. I         ·7· ·collar at a pharmacy.
·8· ·didn't have records from Dr. Singer, so the exact            ·8· · · · · ·Q.· · ·All right.· If it is -- if a hard
·9· ·indication, I don't know.                                    ·9· ·collar -- if a cervical hard collar was prescribed by
10· · · · · ·Q.· · ·And the chlordiaz- -- what did you say?       10· ·somebody at Denver Health, would you have ordered that it
11· · · · · ·A.· · ·Chlordiazepoxide?                             11· ·be taken from Mr. Schwark?
12· · · · · ·Q.· · ·What is that for?                             12· · · · · ·A.· · ·No.
13· · · · · ·A.· · ·It's also a -- it's a long-acting             13· · · · · ·Q.· · ·All right.· Would you agree that taking
14· ·benzodiazepine.                                              14· ·away a hard collar from somebody who has a prescription
15· · · · · ·Q.· · ·Okay.· And so as of February 25th, you        15· ·for a hard collar could exacerbate cervical issues?
16· ·were ordering him to -- you were ordering your medical       16· · · · · · · · · MR. MICHALEK:· Object to form.
17· ·staff to wean him off the chlordiazepoxide, as well as       17· · · · · ·A.· · ·If they had an acute fracture and they
18· ·the alprazolam?                                              18· ·were still within the time frame for which they needed
19· · · · · ·A.· · ·Correct, because there's no reason he         19· ·that protection, then the answer would be yes.
20· ·should be on two benzodiazepines.· One, necessarily, had     20· · · · · ·Q.· · ·(By Mr. Lane)· Are you aware that on his
21· ·to go because there's a contraindication for an increased    21· ·second incarceration, Mr. Schwark began to suffer major
22· ·possibility of adverse side effects from those               22· ·hallucinations?
23· ·medications; higher chance of overdosing on the              23· · · · · ·A.· · ·I was informed of that.
24· ·benzodiazepines.· And then we started on the wean that we    24· · · · · ·Q.· · ·Do you know what the cause of those
25· ·use when anybody who is on chronic benzodiazepines           25· ·hallucinations was?

                                                        Page 86                                                                          Page 88
·1· ·therapy undergoes when they are at the jail.                 ·1· · · · · ·A.· · ·No.
·2· · · · · ·Q.· · ·Okay.· Again, Dr. Singer had prescribed       ·2· · · · · ·Q.· · ·Are there psychotropic medications that
·3· ·these things to Mr. Schwark, based on what your review of    ·3· ·people can be given to mitigate or stop hallucinations?
·4· ·the record was, correct?                                     ·4· · · · · ·A.· · ·Yes, there are.
·5· · · · · ·A.· · ·I was told that -- yeah.· We had pictures     ·5· · · · · ·Q.· · ·What are those kinds of meds?
·6· ·of his bottles that had Dr. Singer's name on it as the       ·6· · · · · ·A.· · ·Antipsychotics.
·7· ·prescribing physician.                                       ·7· · · · · ·Q.· · ·Okay.· Did you prescribe antipsychotics
·8· · · · · ·Q.· · ·Did you --                                    ·8· ·for Mr. Schwark?
·9· · · · · ·A.· · ·I didn't have records from Dr. Singer.        ·9· · · · · ·A.· · ·I don't do any of the mental health
10· · · · · ·Q.· · ·Did you, personally, ever pick up the         10· ·prescribing at the jail.· We have a mental health
11· ·phone and try to call Dr. Singer?                            11· ·provider that does that, so I referred him to her.
12· · · · · ·A.· · ·No.                                           12· · · · · ·Q.· · ·On March 6th, did you have an email
13· · · · · ·Q.· · ·Did Dr. Singer ever contact anybody at the    13· ·correspondence with Nurse Canterbury?
14· ·jail that you know of?                                       14· · · · · ·A.· · ·I have no idea.
15· · · · · ·A.· · ·I have no knowledge that Dr. Singer,          15· · · · · ·Q.· · ·Okay.· Well, did you ever look at the
16· ·himself, ever contacted the nurses.                          16· ·records from Denver Health or Summit County stemming from
17· · · · · ·Q.· · ·Are you aware that Mr. Schwark's mother,      17· ·Mr. Schwark's fall?
18· ·on February 28th, contacted the jail and asked if she        18· · · · · ·A.· · ·And when you say "ever," do you mean ever
19· ·needed to bring Mr. Schwark's medications to the jail?       19· ·in my lifetime?
20· · · · · ·A.· · ·No.                                           20· · · · · ·Q.· · ·Ever in your lifetime.· We'll start there.
21· · · · · ·Q.· · ·Are you aware of the fact that Mr. Schwark    21· · · · · ·A.· · ·I have subsequently seen some of those
22· ·had a cervical hard collar prescribed to him for the         22· ·records.
23· ·injury that he suffered when he fell off the table?          23· · · · · ·Q.· · ·Okay.· While Mr. Schwark was in your care,
24· · · · · ·A.· · ·At that time, I had no information            24· ·did you ever see those reports?
25· ·regarding what was prescribed for him during his             25· · · · · ·A.· · ·No.


                                                Stevens-Koenig Reporting                                                           ·Pages 85–88
                                           303-988-8470· www.SKReporting.com                                                                       YVer1f
    Case 1:15-cv-02507-JLK Document 65-5 Filed 05/08/17 USDC Colorado Page 12 of 12
Kyle Jeffery Schwark vs.                                                  Deposition of Katherine Margaret Fitting, MD, FACP
Sheriff Fred Wegener, et al.                                                                                 January 05, 2017
                                                        Page 93                                                           Page 95
·1· · · · · ·A.· · ·Yes.                                          ·1· · · · · ·A.· · ·I am.
·2· · · · · ·Q.· · ·It's for Kyle Schwark.· Number 1 says, "DC    ·2· · · · · ·Q.· · ·So he was hallucinating.· Can withdrawal
·3· ·Suboxone."· What is -- is that to discontinue Suboxone?      ·3· ·from Suboxone cause hallucinations?
·4· · · · · ·A.· · ·Correct.                                      ·4· · · · · ·A.· · ·That is not one of the symptoms of
·5· · · · · ·Q.· · ·Number 2, "DC" --                             ·5· ·withdrawal from Suboxone.
·6· · · · · ·A.· · ·Chlordiazepoxide.                             ·6· · · · · ·Q.· · ·How about the other one, chlordiazepoxide?
·7· · · · · ·Q.· · ·Right.· Discontinue that?                     ·7· · · · · ·A.· · ·It's not a symptom of that either.
·8· · · · · ·A.· · ·Yes.                                          ·8· · · · · ·Q.· · ·All right.· Yet, you have a person
·9· · · · · ·Q.· · ·And then to wean off the --                   ·9· ·presenting with apparent psychosis, and you -- you did
10· · · · · ·A.· · ·Alprazolam.                                   10· ·not know what the cause of this was, right?
11· · · · · ·Q.· · ·Alprazolam.                                   11· · · · · · · · · MR. MICHALEK:· Object to form.
12· · · · · · · · · Okay.· What does the rest of that note        12· · · · · ·A.· · ·That's correct.
13· ·mean?                                                        13· · · · · ·Q.· · ·(By Mr. Lane)· So you referred him to the
14· · · · · ·A.· · ·That's the dosing schedule for the            14· ·psychiatric nurse?
15· ·alprazolam.                                                  15· · · · · ·A.· · ·That's correct.
16· · · · · ·Q.· · ·Okay.· You were just going to cut him off     16· · · · · ·Q.· · ·Who is the psychiatric nurse?
17· ·completely on the Suboxone and chlordiazepoxide?             17· · · · · ·A.· · ·Dr. Parker.
18· · · · · ·A.· · ·Chlordiazepoxide.                             18· · · · · ·Q.· · ·So the psychiatric nurse is actually a
19· · · · · ·Q.· · ·Right.                                        19· ·doctor?
20· · · · · ·A.· · ·As I stated earlier, it's contraindicated     20· · · · · ·A.· · ·Yes, she is.
21· ·to be on two benzodiazepines at the same time, so the        21· · · · · ·Q.· · ·Okay.· Is she a psychiatrist?
22· ·chlordiazepoxide was discontinued.· The Suboxone, which      22· · · · · ·A.· · ·No, she is not.
23· ·is indicated to help people with urges to use alcohol or     23· · · · · ·Q.· · ·What kind of doctor is she?
24· ·narcotics, was discontinued because there's no access to     24· · · · · ·A.· · ·She's a psychiatric prescribing nurse
25· ·alcohol or narcotics in the jail, so it wasn't needed for    25· ·practitioner who has a Ph.D.
                                                        Page 94                                                           Page 96
·1· ·his medical therapy.                                         ·1· · · · · ·Q.· · ·Okay.· And how long did the apparent
·2· · · · · ·Q.· · ·What is your best understanding of why        ·2· ·psychosis last with Mr. Schwark?
·3· ·Kyle Schwark was hallucinating in the jail in February?      ·3· · · · · ·A.· · ·I was informed of his symptoms, I referred
·4· · · · · ·A.· · ·I don't know why he was hallucinating,        ·4· ·him, and that was the last I heard of the situation.· So
·5· ·which is why I referred him to the psychiatric nurse.        ·5· ·it was the nurses that then would get him in contact with
·6· · · · · ·Q.· · ·Did he see the psychiatric nurse?             ·6· ·the prescribing nurse practitioner.
·7· · · · · ·A.· · ·I don't know.                                 ·7· · · · · ·Q.· · ·And you don't know if that ever happened?
·8· · · · · ·Q.· · ·Would you agree that hallucinations are a     ·8· · · · · ·A.· · ·I don't know if they ever had a
·9· ·symptom of a psychotic state?                                ·9· ·face-to-face interaction.
10· · · · · · · · · MR. MICHALEK:· Object to form.                10· · · · · ·Q.· · ·Did he get some sort of a prescription for
11· · · · · ·A.· · ·They can be.                                  11· ·these hallucinations?
12· · · · · ·Q.· · ·(By Mr. Lane)· If someone is actively         12· · · · · ·A.· · ·I don't know if she prescribed that.
13· ·hearing voices or seeing things, assuming that it is not     13· · · · · ·Q.· · ·Do you have a written record of referring
14· ·caused by hallucinogenic drugs, isn't that sort of the       14· ·Mr. Schwark to -- what's this person's name?
15· ·quintessential benchmark of psychosis?                       15· · · · · ·A.· · ·Dr. Parker.
16· · · · · ·A.· · ·Those are symptoms of psychosis, yes.         16· · · · · ·Q.· · ·-- Dr. Parker?
17· · · · · ·Q.· · ·And you would agree with me that psychosis    17· · · · · ·A.· · ·Do I have a written record?· No.
18· ·is a serious medical need, right?                            18· · · · · ·Q.· · ·Does the jail?· I mean, is there a written
19· · · · · · · · · If an inmate is psychotic, that inmate has    19· ·record somewhere?
20· ·a serious medical need?                                      20· · · · · ·A.· · ·I would guess that there is, since it was
21· · · · · · · · · MR. MICHALEK:· Object to form.                21· ·a verbal order from me.
22· · · · · ·A.· · ·Correct.                                      22· · · · · · · · · MR. LANE:· Okay.· You know what?· I think
23· · · · · ·Q.· · ·(By Mr. Lane)· And do you understand that     23· ·maybe what we should do -- it's now 20 minutes until
24· ·the jail is obligated to attend to these serious medical     24· ·noon.· Why don't we break for lunch.· I'm going to wait
25· ·needs of an inmate?                                          25· ·for Dunia to come back because I need to ask her a

                                                Stevens-Koenig Reporting                                           ·Pages 93–96
                                           303-988-8470· www.SKReporting.com                                                        YVer1f
